Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 1 of 13 Page ID #:1




     TAHA A. ABOURAMADAN (Plaintiff)                          rj ~~ r}^~ ~ ~ ~~ ~' t~0
 1   4533 MacArthur Boulevard, Suite #5199
     Newport Beach, CA 92660
 2   Tel.:(949) 343-2652                                          t~.r:
     Fax.:(949)955-2066
 3
 4   Attorney In Pro Per for Plaintiff
     TAHA ABOURAMADAN
 5
 6
                                   UNITED STATES DISTRICT COURT
 7
                                CENTRAL DISTRICT OF CALIFORNIA
 8
 9   '~, TAHA ABOURAMADAN,                       CASE NO.   C V 1 l ~ O~ ~               ~~
10
            Plaintiff,                           COMPLAINT FOR:
11
     v.                                          (1) VIOLATIONS OF THE FAIR DEBT
12                                                   COLLECTION PRACTICES ACT
13   COASTLINE RECOVERY SERVICES, INC.,;
     an incorporated company; WESTLAKE       (2) VIOLATIONS OF THE
14   SERVICES, LLC d1b/a WEST'LAKE               ROSENTHAL FAIR DEBT
     FINANCIAL SERVICES, a limited liability     COLLECTION PRACTICES ACT
l5   company; AND DOES 1-10, inclusive.
16
                    Defendants.
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 Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 2 of 13 Page ID #:2




 1            Plaintiff Taha Abouramadan hereby complains against defendants Coastline Reco

 2     Services, Inc. ("Coastline"), Westlake Financial Services, LLC ("Westlake") and Does 1-10,

 3     alleges on information and belief as follows:
 4

 5                                           OPERATIVE FACTS

 6     1.      Plaintiff purchased an automobile on credit, which was financed by a lender, WestlakE

 7             Financial Services "Westlake". Westlake took a security interest in the vehicle, which way

 8             collateral for the loan. Westlake, either directly or through a third party repossessioc

 9            forwarder, hired defendant Coastline to conduct a repossession of plaintiff's vehicle.

10     2.      Defendants repossessed plaintiff's vehicle by entering private property, withou
11             permission. Accordingly, defendants breached the peace in conducting the repossession o

12             plaintiff's vehicle, in violation of Commercial Code § 9609 and the Collateral Recover

13             Act, Bus. &Prof. Code § 7508.2(d).

14     3.     In violation of the Collateral Recovery Act, Bus. &Prof. Code §§ 7507.9 and 7507.10

15            Coastline failed to notify plaintiff in writing of the seizure of the vehicle within 48 hours
16            and failed to mail him a written inventory of the personal items it had seized.

17

18                                      JURISDICTION AND VENUE

19     4.     The court has original jurisdiction over this matter pursuant to 15 U.S.C. § 1692k(d). Thf

20            court has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367
21     5.      Venue is proper in the Central District of California because a substantial part ofthe event<.

22 I          or omissions giving rise to the claim occurred in this district, and defendants are subject tc

23            the court's personal jurisdiction in this district.
24

25                                                  PARTIES

26     6.     Plaintiff is a natural person over the age of 18 years and is a resident ofstate of California.

27     7.     Defendant Coastline Recovery Services, Inc. is a California Corporation.

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 1 ~ ~      Defendant Westlake Services, LLC d/b/a Westlake Financial Services, is a

 2          limited liability company.

 3 10       Defendants Does 1 through 10 are persons or entities whose true names and capacities

 4          presently unknown to plaintiff, and who therefore are sued by such fictitious nam

 5          Plaintiff is informed and believes and thereon alleges that each of the fictitiously nam

 6          defendants perpetrated some or all of the wrongful acts alleged herein, is responsible

 7          some manner for the matters alleged herein, and is jointly and severally liable to plainti

 8          Plaintiff will seek leave of court to amend this complaint to state the true names a

 9          capacities of such fictitiously named defendants when ascertained.

10 1~       Except as specifically noted herein, each defendant was the agent or employee of each
11          the other defendants and was acting within the course and scope of such agency

12          employment. The defendants are jointly and severally liable to plaintiff.

13

14                                    FIRST CAUSE OF ACTION

15   (A~ainst All Defendants for Violations of the Fair Debt Collection Practices Act, 15 U.S.C.

16                                              1692 et seq.).

17   1 1.   Plaintiff realleges and incorporates herein by reference the allegations of all paragraphs

18          above.

19 1 12     Plaintiff is a "consumer" who allegedly owed a "debt", and defendants are "de

20          collectors", as those terms are defined at 15 U.S.C. § 1692a.               Defendants u

21          instrumentalities ofinterstate commerce or the mails in a business the principal purpose

22          which is the enforcement of security interests.

23   13     Defendants violated 15 U.S.C. § 1692f(6) by taking nonjudicial action to effecl

24          dispossession or disablement of property when(1)there was no present right to possession

25          of the property claimed as collateral through an enforceable security interest; and/or (2)

26          the property was exempt by law from such dispossession or disablement.

27   14.    Plaintiff is entitled to any actual damages sustained by him as a result of defendants'

28          conduct, in an amount according to proof pursuant to 15 U.S.C. § 1692k.




                                                      3
Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 4 of 13 Page ID #:4




 1 1 15       Plaintiff is entitled to $1,000 in statutory damages against each defendant pursuant to 15

 2            U.S.C. § 1692k. Defendants committed their violations willfully and knowingly, and have

 3            frequently and persistently failed to comply with the FDCPA. The nature of defendants'

4             violations justifies the maximum statutory damages award available.

 5 Ifs        Plaintiff is entitled to the costs of the action pursuant to 15 U.S.C. § 1692k.

6                      WHEREFORE, plaintiff prays for relief as set forth below.

 7

 8                                    SECOND CAUSE OF ACTION

9           inst All Defendants for Violations of the Rosenthal Fair l

10                                      Cal. Civil Code & 1788 et sea.)

1 1 Im        Plaintiff realleges and incorporates herein by reference the allegations of all

12            above.

13   I 18     The California Legislature has found that "unfair or deceptive debt collection practices

14            undermine the public confidence which is essential to the continued functioning of the

15            banking and credit system and sound extensions of credit to consumers." Cal. Civ. Code

16            § 1788.1(a)(2). It thus enacted the Rosenthal Fair Debt Collection Practices Act, Cal. Civ.

17            Code §§ 1788, et seq. (the "Rosenthal Act"), to ensure the integrity of our banking and

18            credit industry. Id. § 1788.1(b). 18.    Plaintiff is a "debtor" within the meaning of Civil

19            Code § 1788.2(h) in that he is a natural person from whom defendants sought to collect a

20            "consumer debt" alleged to be due and owing by reason of a consumer credit transaction.

21            "Debt" is defined under the Rosenthal Act to mean ``money, property or their equivalent

22            which is due or owing or alleged to be due or owing from a natural person to anotl

23            person." Civil Code § 1788.2(d).

24 I~         The defendants at all times relevant herein were "debt collectors" within the meaning

25            Civil Code § 1788.2(c), in that they regularly and in the ordinary course of business, on

26            behalf of themselves or others, engage in acts and practices in connection with the

27            collection of money or property which is due or alleged be due or owing by reason of a
28            consumer credit transaction.
Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 5 of 13 Page ID #:5




 1 1 120      Defendants violated Civil Code § 1788.10(a) by using criminal means to cause harm to
 2            the property of plaintiff. Defendants violated Bus. &Prof. Code § 7502.1(a) and
 3            committed misdemeanors by violating Bus.&Prof. Code §§ 7507.9 and 7501.10, and Bus.
 4            & Prof. Code § 7508.2(d). Defendants also committed the crime of trespass.
 5   1 121.   Defendants violated Civil Code § 1788.17, incorporating by reference 15 U.S.C. § 1692f;
 6            by using unfair or unconscionable means to collect or attempt to collect an alleged debt.
 7 1 122      As a proximate result of defendants' violations of the Rosenthal Act, plaintiff has been
 8            damaged in amounts which are subject to proof. Plaintiff is entitled to recover his actua
 9            damages pursuant to Civil Code § 1788.17, incorporating by reference 15 U.S.C. t
10            1692k(a)(1), or in the alternative, Civil Code § 178830(a).
      23.     Defendants' violations of the Rosenthal Act were willful and knowing. Plaintiff is entitles
12            to recover statutory damages of $1,000 per defendant pursuant to Civil Code § 1788.17
13            incorporating by reference 15 U.S.C. § 1692k(a)(2)(A), and Civil Code § 1788.30(b).
14    24.     Plaintiff is entitled to recover his fees including but not limited to any and all attorney
15            fees and costs pursuant to Civil Code § 1788.17, incorporating by reference 15 U.S.C. t
16            1692k(a)(3), or in the alternative, Civil Code § 1788.30(c). WHEREFORE,plaintiff pray
17            for relief as set forth below.
18
19            WHEREFORE, plaintiff prays for relief as set forth below.
20
21                                         PRAYER FOR RELIEF
22            WHEREFORE, plaintiff prays for the following relief
23                   1. For actual damages,
24                   2. For statutory damages;
25                   3. For prejudgment interest to the extent permitted by law;
26                   4. For an award of attorneys' fees, costs and expenses incurred in the
27                      investigation, filing and prosecution of this action; and
28                   5. For such other and further relief as the Court may deem just and proper.




                                                        ~7
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 1

 2                                    DEMAND FOR JURY TRIAL

 3          Plaintiff hereby demands a trial by jury under the United States and

 4   constitutions.

 5

 6   Dated: October 16, 2017

 7          Respectfully Submitted,
 8                                             In Pro Per for Pl~tiff TA,~ABO

 9

10

11                                                         TAHA A. RAMADAN,In Pro Pe
                                                      4533 MacArthur Boulevard, Suite #519
12                                                                Newport Beach, CA 9266
                                                                       Tel.:(949) 343-265
13                                                                      Fax:(949)955-206
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        Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 7 of 13 Page ID #:7

                                       UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                            CIVIL COVER SHEET
I.(a)PLAINTIFFS (Check box if you are representing yourself ~)                       DEFENDANTS            (Check box if you are representing yourself ~ )
 TAHA ABOURAMADAN                                                                     COASTLINE RECOVERY SERVICES, INC. AND WESTLAKE SERVICES, LLC d/b/a
                                                                                      WESTLAKE FINANCIAL SERVICES.

(b) County of Residence of First Listed Plaintiff          Los Angeles               County of Residence of First Listed Defendant                Los Angeles
(EXCEPT IN U.S. PLAINTIFF CASES)                                                     (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name,Address and Telephone Number) If you are                    Attorneys (Firm Name,Address and Telephone Number) If you are
 representing yourself, provide the same information.                                representing yourself, provide the same information.

 TAHA A. ABOURAMADAN (Plaintiffl                                                      UNKNOWN
 4533 MacArthur Boulevard, Suite #5199
 Newport Beach, CA 92660

II. BA515 OF JURISDICTION (Place an X in one box only.)                      III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                  (Place an X in one box for plaintiff and one for defendant)
                                                                                                      PTF     DEF                                          PTF DEF
                                                                                                                      Incorporated or Principal Place
     1. U.S. Government            X 3. Federal Question (U.S.
                                   ❑                                         Citizen of This State    ❑X ~ ~ ~ of Business in this State                   ❑ 4 ~x 4
     Plaintiff                       Government Not a Party)
                                                                             Citizen of Another State   ~ 2 ~ 2 Incorporated and Principal Place            ❑ 5 ~ 5
                                                                                                                of Business in Another State
     2. U.S. Government            ~4. Diversity (Indicate Citizenship       Citizen or Subject of a    ❑ 3 ~ 3 Foreign Nation                             ~ 6 ~ 6
     Defendant                      of Parties in Item III)                  Foreign Country

IV. ORIGIN (Place an X in one box only.)                                                                                       6. Multidistrict       s. nnu~t~d~sc~ict
      1.Original   ❑ 2. Removed from ❑ 3. Remanded from ❑ 4. Reinstated or ❑ 5. Transferred from Another ❑                        Litigation -    ~      Litigation -
        Proceeding     State Court       Appellate Court    Reopened            District (Specify)                                Transfer               Direct File


V.REQUESTED IN COMPLAINT: JURY DEMAND: ❑X Yes ~ No                                     (Check "Yes" only if demanded in complaint.)

CLA55 ACTION under F.R.Cv.P. 23:                ~ Yes ❑X No                       ~ MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdictional statutes unless diversity.)
COMPLAINT FOR:(1) VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT (2) VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT

VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES'               CONTRACT      REAL PROPERTY CONT.           IMMIGRATION            PRISONER PETITIONS             PROPERTY RIGHTS

   375 False Claims Act    ❑ 1101nsurance        ~ 240 Torts to Land        ~ 462 Naturalization         Habeas Corpus:         ~ 820 Copyrights
                                                                              Application
                                                 ~   Z45  Tort  Product                              ~ 463  Alien  Detainee     ~ 830 Patent
  376 Qui Tam              ❑ 120  Marine
                                                     Liability                465 Other                510 Motions to Vacate
  (31 USC 3729(a))           1 30 Miller Act     ~ 290 All Other Real       ❑ Immigration Actions    ❑ Sentence                   835 Patent -Abbreviated
                                                     Property                                        ❑  530 General               New Drug Application
  400 State                   1 40 Negotiable                                       TORTS
   Reapportionment         ❑ Instrument                   TORTS             PERSONAL    PROPERTY     ❑ 535  Death   Penalty     ❑ 840 Trademark
  410 Antitrust               150 Recovery of      PERSONAL INJURY                                                                   SOCIAL   SECURITY
                                                                            ~ 370 Other Fraud                  Other:
  430 Banks and Bankin       overpayment &       ~ 310 Airplane                                                                 ~ 861 HIA (1395f~
                         9 ~ Enforcement of                                 ~ 371 Truth in Lending ❑   540  Mandamus/Other
                                                    315 Airplane
  450 Commerce/ICC           Judgment            ❑ Product Liability                                                            ❑ 862 Black Lung (923)
   Rates/Etc.                                                                 380 Other Personal ❑ 550 Civil Ri9hts
                           ❑  X51  Medicare  Act ~  320  Assault,   Libel & ~ Property   Damage      ~  555 Prison  Condition   ❑ 863 DIWC/DIWW (405 (g))
  460 Deportation                                   Slander
                              152 Recovery of                                 385  Property Damage      560 Civil Detainee      ~ 864 SSID Title XVI
   470 Racketeer InFlu-                             330 Fed. Employers' ❑ Product Liability          ❑ Conditions of
   enced & CorruPt Or9•    ❑ Defaulted Student ❑ Liability                                              Confinement             ❑ 865 R51(405 (g))
                              Loan (Exd. Vet.)                                 BANKRUPTCY
❑ 480 Consumer Credit                            ~ 340 Marine                                         FORFEITURElPENALTY
                             153 Recovery of                                ~ 422 Appeal 28                                         FEDERAL TAX SUITS
❑ 490 Cable/Sat N                                   345 Marine Product        USC 158
                             Overpayment of ❑ Liability                                                625 Drug Related           g70 Taxes(U.S. Plaintiff or
  850 Securities/Com-        Vet. Benefits                                    423 Withdrewal 28 ~ Seizure of Property 21        ❑ Defendant)
   modifies/Exchange                             ~ 350 Motor Vehicle        ~ USC 157                   USC 881
                             160 Stockholders'                                                                                    871 IRS-Third Party 26 USC
                           ❑ Suits               ~ 355 Motor Vehicle                                 ❑  690 Other               ❑ 7609
   890 Other Statutory                                                          CIVIL RIGHTS
   Actions                                          Product Liability
                                                                              440 Other Civil Rights          LABOR
   891 A9ricultural Acts   ❑ 190 Other              360 Other Personal ❑
                             Contract            ❑
                                                 Q Injury                   ~ 441 Voting               710 Fair Labor Standards
  893 Environmental                                                                                    Act
                             195 Contract           362 Personal Injury-
   Matters                                                                  ❑ 442 Em ptoY ment       ~ 720 Labor/Mgmt.
                             Product Liability   ~ Med Malpretice
  895 Freedom of Info.                                                        443 Housing/             Relations
❑ Act                      ❑ 796 Franchise
                                                    365 Personal Injury-
                                                 ❑ Product Liability          Accommodations
                                                                                                     ~ 740 Railway Labor Act
                            REAL PROPERTY                                     445 American with
❑ 896 Arbitration                                   367 Heakh Care/
                             210 Land               Pharmaceutical          ❑ Disabilities-          ~ 751 FamilY and Medical
  899 Admin. Procedures ~ Condemnation                                        Employment               Leave Act
                                                 ~ Personal Injury
  Act/Review of Appeal of                           Product    Liabili        446 American with        790 Other Labor
  Agency Decision          ❑ zz0  Foreclosure                         ty                             ~ Liti9ation
                                                    368 Asbestos            ~ Disabilities-Other
  950 Constitutionality of   230 Rent Lease & ❑ personal In'u                                           791 Employee Ret. Inc.
  State Statutes                                                  ~ ry      ❑ 448  Education         ❑ SecuritY Act
                           ~ E~ectment              Product Liabili

FOR OFFICE USE ONLY:                    Case Number:
CV-71 (05/17)                                                             CIVIL COVER SHEET                                                              Page 1 of 3
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                                            UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                 CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                                  STATE CASE WAS PENDING IN THE COUNTY OF.                                    INITIAL DIVISION IN CACD IS:
               Yes ~x No
                                                   Los Angeles,Ventura,Santa Barbare, or San Luis Obispo                                                 Western
If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the         ❑ Orange                                                                                               Southern
corresponding division in response to
Question E, below,and continue from there. ❑ Riverside or San Bernardino                                                                                 Eastern



QUESTION B: IS the United States, or B.1• Do 50% or more of the defendants who reside in                     YES. Your case will initially be assigned to the Southern Division.
One of its agencies or employees,a   the district reside in Orange Co.?                                    ~ Enter "Southern" in response to Question E, below,and continue
PLAINTIFF in this action?                                                                                    from there.
                                     check one ofthe boxes to the right ~~
                Yes Q No
                                                                                                                 NO. Continue to Question B.2.

                                                  B.2. Do 50°k or more of the defendants who reside in        YES. Your case will initially be assigned to the Eastern Division.
If"no," skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino    ❑ Enter "Eastern" in response to Question E, below, and continue
Question 6.1, at ri9ht.                           Counties.~ (Consider the two counties together.)            from there.

                                                  check one ofthe boxes to the right   ~♦                        NO. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter "Western" in response to Question E, below, and continue
                                                                                                                 from there.

QUESTION C: Is the United States, or C•1. Do 50°~ or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                           ~ Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                       from there.
                                     check one of the boxes to the right    ~~
                Yes ~ No
                                                                                              ~ NO. Continue to Question C.2.

                                                  C.2. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer    district reside in Riverside and/or San Bernardino
Question C.1, at ri9ht.                                      ~                                            ❑ Enter "Eastern" in response to Question E, below,and continue
                                                  Counties. (Consider the two counties together.)           from there.

                                                  check one ofthe boxes to the right   ~~                        NO. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter "Western" in response to Question E, below,and continue
                                                                                                                 from there.
                                                                                                            A.                            B.                            C.
                                                                                                                                 Riverside or San           los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants
                                                                                                    Orange County              Bernardino County            Santa Barbara, or San
                                                                                                                                                             Luis Obispo County

Indicate the locations) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
I ndicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                           ~                            ~                              ~X
a pply.)

                D.1. Is there at least one answer in Column A?                                             D.2. Is there at least one answer in Column B?
                                        Yes       ~X No                                                                     ~ Yes           ~X No

                    If "yes," your case will initially be assigned to the                                     If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                         EASTERN DIVISION.
     Enter "Southern" in response to Question E, below,and continue from there.                              Enter "Eastern" in response to Question E, below.
                          If"no," go to question D2 to the right.       ~♦                             If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                             Enter "Western" in response to Question E, below.                ,l,


QUESTION E: Initial Division?                                                                                           INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above: ~~                  WESTERN

QUESTION. F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                          ~ Yes             ~X No
CV-71 (05/17)                                                                   CIVIL COVER SHEET                                                                  Page 2 of 3
         Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 9 of 13 Page ID #:9

                                           UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                  0 NO                       YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                                     NO            X YES
                                                                                                                                                                   ~
        If yes, list case number(s):     Case 2:17-cv-07125


        Civil cases are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

              0 B. Call for determination of the same or substantially related or similar questions of law and fact; or

              X C. For other reasons would entail substantial duplication of labor if heard by differentjudges.
              ~

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by differentjudges.

                                                                                         r`
 X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT : ""                                                                                                  DATE:       10-16-2017

Notice to Counsel/Parties: The submission of this~CE-rnTe~ Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law,except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits(Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B,of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)
                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                       DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended.(42 U.S.C. 405(g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       R51              All claims for retirement(old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C. 405 (g))




CV-71 (05/17)                                                                  CIVIL COVER SHEET                                                                  Page 3 of 3
Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 10 of 13 Page ID #:10



AO 440(Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                   Central District of California


                  TAHA ABOURAMADAN




                           Plaintiffs)
                               v.                                       Civil Action No.
   COASTLINE RECOVERY SERVICES, INC., an
incorporated company; WESTLAKE SERVICES, LLC
 d/b/a WESTLAKE FINANCIAL SERVICES, a limited                           C V1 7-0~~ ~~~b~P ~JW~°
     liability company; AND DOES 1-10, inclusive
                          Defendants)


                                               SUMMONS 1N A CIVIL ACTION

To: <DejendnnCs name and address) COASTLINE RECOVERY SERVICES, INC.
                                  15133 S BROADWAY ST
                                  GARDENA CA 90248




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     TAHA A. ABOURAMADAN (Plaintiffl
                                     4533 MacArthur Boulevard, Suite #5199
                                     Newport Beach, CA 92660
                                     Tel.: (949) 343-2652
                                     Fax.:(949) 955-2066
       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                     Signatzrre ofClerk or Depzrry Clerk
Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 11 of 13 Page ID #:11



AO 440(Rev_ 06/13) Summons in a Civil Action (Page?)

Civil Action No.

                                                 PROOF OF SERVICE
                  (This section should not befried with the court unless required by Fed. R. Civ. P. 4(1))

          This Summons for (name ofindividual and title, ifanv)

 was received by me on (date)

          O I personally served the summons on the individual at ~pla~e)
                                                                             Oil (date)                          ; or


          ~ I left the summons at the individual's residence or usual place of abode with (name
                                                               a person of suitable age and discretion who resides there,
          on (dared                             ,and mailed a copy to the individual's last known address; or

          O 1 served the summons on name of;ndividua[~                                                                      who is
           designated by law to accept service of process on behalf of(name oforgan;~arionj
                                                                             Oil (date)                           or

          ~ 1 returned the summons unexecuted because                                                                          or

          ~ Other (specify):




          My fees are $                         for travel and $                 for services, for a total of$          p


            declare under penalty of perjury that this information is true.



Date:
                                                                                          Server's signature



                                                                                     Printed name and title




                                                                                          Server's address


Additional information regarding attempted service, etc:
Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 12 of 13 Page ID #:12


AO 440(Rev. 06/1?) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Central District of California


                  TAHA ABOURAMADAN




                           Plaintiff(sl
                                v.                                       Civi] Action No.
   COASTLINE RECOVERY SERVICES, INC., an
incorporated company; WESTLAKE SERVICES, LLC
 d/b/a WESTLAKE FINANCIAL SERVICES, a limited
     liability company; AND DOES 1-10, inclusive
                                                                                     ~ -o~~ ~ '~~~~wx~
                          Defendant(sJ


                                               SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) WESTLAKE SERVICES, LLC d/b/a
                                   WESTLAKE FINANCIAL SERVICES
                                  4751 WILSHIRE BLVD STE 100
                                   LOS ANGELES CA 90010




         A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                      TAHA A. ABOURAMADAN (Plaintiffl
                                      4533 MacArthur Boulevard, Suite #5199
                                      Newport Beach, CA 92660
                                      Tel.: (949) 343-2652
                                      Fax.:(949) 955-2066
       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                      Signature ofGe~•k or Deputv Gerk
Case 2:17-cv-07565-CAS-MRW Document 1 Filed 10/16/17 Page 13 of 13 Page ID #:13



AO 440(Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                 PROOF OF SERVICE
                  (This section should not befiled with the court unless required by Fed R. Ciu P. 4(1))

          T'}11S SU17]]T10I15 fOC (name ofindividual and title, ifanyJ

 was received by me on dare)


          Q I personally served the summons on the individual at (place
                                                                                  On (date)                           ; Or


          ~ I left the summons at the individual's residence or usual place of abode with ~nan~e)
                                                                    a person of suitable age and discretion who resides there,
          on dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of;ndiv~dual)                                                                          who is
           designated by law to accept service of process on behalf of name oforgonizai,on~
                                                                                  on (date)                            or

          Q I returned the summons unexecuted because                                                                               or

          ~ Other (specify):




          My fees are $                          for travel and $                     for services, for a total of$          p


          I declare under penalty of perjury that this information is true.



Date:
                                                                                              Server's signature




                                                                                         Printed name and title




                                                                                              Server's address


Additional information regarding attempted service, etc:
